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      In The United States Court of Federal Claims
                                        No. 05-576 T

                                    (Filed: January 7, 2011)
                                           __________
 PRESTOP HOLDINGS, LLC,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                            _________

                                           ORDER
                                          __________

       A telephonic status conference will be held in this case on Tuesday, January 18, 2011, at
2:00 p.m. (EST). Chambers will contact the parties shortly before the scheduled conference time.

       IT IS SO ORDERED.



                                                   s/ Francis M. Allegra
                                                   Francis M. Allegra
                                                   Judge
